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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


JUDITH HALPERN                               *

                    Plaintiff,               *

             v.                             *      CIVIL ACTION NO. RWT-15-2580

DR. HEMA K. PATEL                            *
WISTERIA DENTAL CARE
CRISTINA MARTIN                             *

                    Defendants.              *
                                           *****

                                          ORDER

      For reasons articulated in the Memorandum Opinion, it is this 21st day of

September, 2015, by the United States District Court for the District of Maryland, hereby

ORDERED that:

          1. Plaintiff’s Motion to Proceed In Forma Pauperis (ECF No. 2) IS GRANTED;

          2. Plaintiff’s Complaint (ECF No. 1) is DISMISSED WITHOUT PREJUDICE

             pursuant to Rule 12(h)(3);

          3. The Clerk SHALL CLOSE this case; and

          4. The Clerk SHALL SEND a copy of this Order and the foregoing Memorandum

             Opinion to Plaintiff.



                                                        /s/
                                                  ROGER W. TITUS
                                            UNITED STATES DISTRICT JUDGE
